Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 1 of 6 PageID #:
                                    136
Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 2 of 6 PageID #:
                                    137
Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 3 of 6 PageID #:
                                    138
Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 4 of 6 PageID #:
                                    139
Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 5 of 6 PageID #:
                                    140
Case 5:06-cr-50152-TS-MLH   Document 44   Filed 04/11/07   Page 6 of 6 PageID #:
                                    141
